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                 1        Teresa H. Michaud (296329)
                           teresa.michaud@bakermckenzie.com
                 2        BAKER & McKENZIE LLP
                          1901 Avenue of the Stars, Suite 950
                 3        Los Angeles, California 90067
                          Telephone: +1 310 201 4728
                 4        Facsimile: +1 310 201 4721

                 5        Colin H. Murray (159142)
                           colin.murray@bakermckenzie.com
                 6        Alexander G. Davis (287840)
                           alexander.davis@bakermckenzie.com
                 7        Anne M. Kelts (298710)
                           anne.kelts@bakermckenzie.com
                 8        BAKER & McKENZIE LLP
                          Two Embarcadero Center, 11th Floor
                 9        San Francisco, CA 94111-3802
                          Telephone: +1 415 576 3000
               10         Facsimile: +1 415 576 3099

               11         Attorneys for Defendant
                          CRRC CORPORATION LTD.
               12
                                                     UNITED STATES DISTRICT COURT
               13
                                                    NORTHERN DISTRICT OF CALIFORNIA
               14
                                                         SAN FRANCISCO DIVISION
               15

               16
                          SUN GROUP U.S.A. HARMONY CITY, INC.,                 Case No. 3:17-cv-02191-SK
               17
                                       Plaintiff,                              Date Action Filed: April 19, 2017
               18
                                v.                                             DECLARATION OF XIAOYI CHEN
               19                                                              IN SUPPORT OF CRRC
                          CRRC CORPORATION LTD.,                               CORPORATION LTD.’S
               20                                                              APPLICATION IN SUPPORT OF
                                       Defendants.                             HAGUE EVIDENCE CONVENTION
               21

               22                                                              Crtrm:            C, 15th Floor
                                                                               Judge:            The Hon. Sallie Kim
               23                                                              Trial Date:       April 27, 2021
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               28
 Baker & McKenzie LLP
Two Embarcadero Center,
       11th Floor                                                                                      Case No. 3:17-cv-02191-JSC
San Francisco, CA 94111                                DECLARATION OF XIAOYI CHEN ISO HAGUE EVIDENCE CONVENTION APPLICATION
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                 1               I, Xiaoyi Chen, declare and state as follows:

                 2               1.      My primary language is Chinese Mandarin. This declaration is provided in Chinese

                 3        Mandarin, and I understand that it will be translated into English.

                 4               2.      My Declaration is in support of CRRC Corporation Ltd.’s application in response to

                 5        Plaintiff Sun Group U.S.A. Harmony City, Inc.’s (“Sun Group”) First Set of Requests for Production

                 6        (“Document Requests”) in this matter under to the procedures set forth in the Convention on the

                 7        Taking of Evidence Abroad in Civil or Commercial Matters (“Hague Evidence Convention”).

                 8               3.      I am currently the Director of the Legal Affairs Department of CRRC Corporation

                 9        Ltd. (“CRRC”) based in Beijing, the People’s Republic of China (“PRC”). I have been in this

               10         position for over four years.

               11                4.      CRRC is a Chinese corporation with its principal place of business located in Beijing,

               12         the PRC. The government of the PRC wholly owns CRRC Group Co., Ltd., which in turn owns

               13         approximately 50.28% of shares of CRRC.

               14                5.      As an entity established in the PRC with its principal place of business in the PRC,

               15         and partially owned by the government of the PRC, CRRC is obligated to comply with the laws of

               16         the PRC, including Article 277 of the Civil Procedure Law of the People’s Republic of China

               17         (“Article 277”) which provides the following:

               18                  Request for and to provide judicial assistance shall be made through channels prescribed

               19         by international treaties concluded or acceded to by the People's Republic of China; or in the

               20         absence of such a treaty, shall be made through diplomatic channels.

               21                A foreign embassy or consulate to the People's Republic of China may serve process on and

               22         investigate and collect evidence from its citizens but shall not violate the laws of the People's

               23         Republic of China and shall not take compulsory measures.

               24                Except for the circumstances in the preceding paragraph, no foreign authority or individual

               25         shall, without permission from the competent authorities of the People's Republic of China, serve

               26         process or conduct investigation and collection of evidence within the territory of the People's

               27         Republic of China.

               28
 Baker & McKenzie LLP                                                         1
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       11th Floor                                                                                           Case No. 3:17-cv-02191-JSC
San Francisco, CA 94111                                     DECLARATION OF XIAOYI CHEN ISO HAGUE EVIDENCE CONVENTION APPLICATION
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                 1               6.      CRRC does not have the rights to violate Chinese law in response to the Discovery

                 2        Requests. Article 277 does not prohibit CRRC from complying with the Discovery Requests in all,

                 3        but requires CRRC to provide responsive documents pursuant to the procedures established under

                 4        the Hague Evidence Convention.

                 5               7.      To that end, CRRC is prepared to work cooperatively with the Court and Sun Group

                 6        to facilitate the discovery process under the Hague Evidence Convention and will proceed in good

                 7        faith with the collection and production of evidence pursuant to the rules of the Convention.

                 8               8.      Contrary to the comments made in Sun Group’s August 5, 2019 statement to the

                 9        Court, CRRC did not filed this application for the purpose of delaying the production of documents

               10         or denying Sun Group access to relevant evidence. CRRC views the Hague Evidence Convention as

               11         the sole method by which it can lawfully disclose its PRC-based documents in response to the

               12         Document Requests, and firmly believes the Hague Evidence Convention was agreed upon by both

               13         the PRC and the United States governments for these precise circumstances.

               14

               15                I declare under penalty of perjury under the laws of the State of California and related laws

               16         of the United States of America that the foregoing is true and correct, and that this Declaration was

               17         executed by me on August 19th, 2019 at Beijing, the People’s Republic f China

               18

               19                                                                __________________________________
                                                                                 Xiaoyi Chen
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 Baker & McKenzie LLP                                                        2
Two Embarcadero Center,
       11th Floor                                                                                          Case No. 3:17-cv-02191-JSC
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                         CERTIFICATION OF MIMI S. J. LAIN

                            450 TARAVAL STREET PMB#232

                               SAN FRANCISCO, CA 94116

I, Mimi S. J. Lain, declare that I am a professional interpreter/translator of the Chinese

Language and the English Language. I am certified as required by Section 751(d) of the

California Evidence Code, which requires an interpreter/translator to be certified or

registered in accordance with Article 4 of Chapter 2 of Title 8 of Section 68560 of the

California Government Code. My valid certification number with the Judicial Council of

California is 301079.

I have personally translated and/or proofread the following document:
   Xiaoyi Chen’s Declaration in Support of CRRC Corporation LTD’s Application in
                       Support of Hague Evidence Convention


I hereby certify that the translation from Chinese to English is accurate, complete and

faithful to the best of my abilities.



I declare under penalty of perjury that the forgoing is true and correct, and this

Declaration was executed in San Francisco, CA on August 19, 2019.




                                         Mimi S. J. Lain
                                        Certified Court Interpreter
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    ORIGINAL
CHEN DECLARATION
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